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UNITED sTATES DISTRICT CO_URT

_N_QB,I];IERN DISTBICT OF l - N
UNTI`ED STATE,S OF AMERICA /
. ‘ . . ~ RIMINAL COMPLAINT -
" -s-mso¢

H¥»§§E§'J.‘I§§§m 6 l 1001 M“’*GMMF`EJUDGE lmwa

LAWRENCE W. KNITTER FEB _. 1 ZUB\\ ms Rl
n HAELw.oosams.oLERK 0 1 CR 0 1 0 `
omit sTATEs n\sTR\c'r oous'r _ ` l

I, the undersigned complainsnt, being duly sworn, state the following is true and correct

 

 

to the best of my knowledge and belief". On or about Noverct»er 2000 to February l, 2001 in Cook

County, in the Northern Distriot of Illinois, defendants did, n.mk statutory mun cl umw

Knowing‘ly end intentionally conspired with each other end
with others known end unknown to possess with intent to
distribute a controlled substanoe, nsmely. in excess of
five kilograms of mixtures containing ooosine. a Sohedule
II controlled substance,

in violation of 'I‘itle 21 United States Codo, Section 846'-

I further state that I sm a EQe:igl went - E§L ‘ end that this complaint is based

Ofl'l¢ial Titlc

on the following fects.:

SEE A'I"I‘ACHED AFFIDAVIT

Continued on the attached sheet and made s part hereof: _X_ Yes g 5

Signature of Complainant

Sworn to before me and subscribed in my presenoe,

 

 

 

flsth l. 2001 at Mom Illino:i.s

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A F F I D A V § l

I, DANIEL LEE, being first duly sworn on oath, depose and
state as follows:-

l. I am a Special Agent of the Federal Bureau of
Investigation (“fBI”), and have been so employed for more than lB
vears. ns an FEI Special Agsnt, I am an investigative and law
enforcement officer of the_Uhited States, empowered by law to
conduct investigations of, and. to coake arrests for, narcotics
offenses under Title 21, United States Code. I have received
special training in the enforcement of laws pertaining to narcotics
trafficking and I have participated in numerous narcotics
investigations. I have conducted various types of surveillance,r
and have been involved in the debriefing of defendants, witnesses,
informanta, and others who have knowledge of narcotics trafficking.

2. This affidavit is submitted in support of a complaint
Charging EDDIE C. HICKS{ MATTHEW L. MORAN; and LAWRENCE W. KNITTER
with knowingly and intentionally conspiring with each other and
with others known and unknown to possess with intent to distribute
a controlled substance, namely, in excess of five kilograms of
oocaine, a schedule II controlled substance, in violation of Title
21, United States Code, Section 845.

3. The facts set forth below are based on my own personal
knowledge, my review of investigative reports prepared by other law
enforcement agents, my conversations with other law enforcement

agents, information provided by.a cooperating witness (the “CW"),

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and my discussions with other law enforcement agents concerning
tapes of visual, non-verbal conduct and activities and related oral
communications intercepted pursuant to court orders and tapes of
consensually-recorded conversations. since this affidavit is
submitted for the limited purpose of establishing probable cause in
support of a complaint, this affidavit does not contain a detailed‘
account of everything that I know about the individuals and events
described herein. The affidavit sets forth only those facts which
I believe are necessary to establish probable cause in support of
the complaint.
EAQEQBQHHD

4. The CW began cooperating with the government on November
15, 2000, after getting arrested for a federal narcotics offense.
The CW provided information concerning, among other ithings,
narcotics trafficking and police corruption:

(a) The cw advised that the cw had information regarding two
individuals, EDDIE C. HICKS and MATTHEW `L. MDRAN, who were
involved in “rip-offs” of drug dealers. This information was
based in part on personal conversations which the CW had with HICKS
and MORAN. The CW advised that while HICKS was employed as
chicago Police nepsrtment (“CPD”) officer, he was part of a crew of
CPD officers and others, including MATTHEW L. MORAN, which would
identify drug dealers believed to be storing large quantities ofll
cash cr drugs, obtain a fabricated search warrant to search the

location where the money and/or drugs were stored, and execute a

 

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“raid” at the location. The CW advised that HICKS, MORAN, and
other CPD officers who were part of their rip-off crew would
confiscate any drugs and/or money which they found, and inform
those present at the location that the drugs and/or money would be
confiscated, but that they would not be arrested.

(b) on one occasion in about 1995, the cW personally
informed EDDIE C. HICKS about a residence where drugs and money
could be found. The cw knew about the residence based upon
information which the CW had received from an associate
(“Individual A”). Individual A told the CW that some individuals
had ripped off Individual A for a large quantity of money and
drugs. Individual A asked the cw whether the CW knew anyone who
could get the money and drugs back. The CW contacted HICKS, and
HIcKs and other members of his crew raided the residence and took
the money and drugs. The cw was paid $25,000 for setting up this
deal.

(c) The cw advised that HIcKs was no longer a CPD officer,
but that HICKS and members of his crew continued to participate in
rip-offs. The CW advised that on November 14, 2000, the day
before the CW's arrest for the narcotics offense referred to
above, the CW had a conversation with HICKS, during which HICKS
asked whether the cw knew of any potential rip-off targets.

5. CPD records show that (a) EDDIE C. HICKS became a CPD

police officer on June lE, 1970 and resigned from the CPD on or

 

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about March 14, 2000; and (b) MATTHEW L. MDRAN was a CPD police
officer who resigned from the CPD in or about 1982.

Recordad conversations setw¢an the CW, HIcKs, and MoRAN
Deoamber 5. 2000 Hoeting

 

E. On December 5, 2000, the CW had a meeting with EDDIE C.
HICKS and MATTHEW L. MORAN at the CW's office in Dolton, Illinois.
This meeting was recorded. The following is a summary of portions
of the recorded conversation between the cw, HICKS, and MORAN:1

(a) ‘The CW said to HICKS and MORAN, “I got a thang and
it's solid.” {I believe the cw was referring to a definite target
for a ripoff).2 The cw stated that “the dude keeps . . . eight
hundred thousand dollars at this spot all the time." The CW said
that the rip-off target “ain’t no dumb mother_fucker and he knows
bullshit from the real shit, so we'll need the warrant. How many
guys do you think you can get?“ (I believe the CW was referring to
how many current or former police officers HICKS and MoRAN could
get to assist in the rip-off). HICKS asked MORAN, “how many do you

think we should bring? Two?” MORAN responded, “I guess, I don't

 

1 The summaries of the consensually-recorded coatings set
forth herein are based information provided to me by other law
enforcement agents who reviewed the recordings and debriefings of
the CW. These summaries are neither verbatim, nor taken from final
transcripts.

2 Throughout this affidavit, I will offer my understanding of
consensually-recorded conversations. My understanding is based
upon my experience' and training, discussions with other law
enforcement agents, and information provided by the CW.

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know, two more would be a stretch.” MDRAN added, “cause you really

hate to bring in any strange people.”

(b) The cw asked, “What about the same crew that thing,

wasn*t it four people?” (I believe the cW was referring to a prior
rip-off). HICKS replied, “Yeah, but one guy is not in the City
anymore. . . . shit, but if it's a sure thing he'd fly up here for

it.” HICKS asked, “Well how often does he (referring to the rip-
off target) have it there?" The CW replied, “Practically all the
time, but I'm going to make sure it‘s there on the date we suppose
to go in there."

(c}\ When the cw told HIcKs and MORAN that he was going
to personally “eyeball” the target premises, HICKs stated, “that\s
the only way to be sure." The CW added, “right, that we'd be sure
so you figure, figure like I say, there's gonna be between five
hundred and eight hundred thousand, and the guy says he mostly keep
eight hundred thousand there. This is a safe house, so don't worry
about no bullshit, that's why he be up there all the time." (I
believe “the guy" referred to the cw's fictitious contact who
allegedly worked for the purported ripoff target).

(c) The CW told HICKs and MDRAN that his contact was
providing information to the cw about a proposed ripoff of the
ripoff target because the contact was allegedly angry that he was

not getting paid by the ripoff target.

 

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(d) The CW.assured HICKS and MORAN that his contact
would be in the safe house (that is, the target premises) when they
go there to do the raidi “he'll be at'homey so when you knock on
the door and say, you know the police, he just open up, you know he
ain't gonna have no drugs or nothing there.” HIcKs then said;
“[h]e'll look at the warrant.” The CW stated, “[y]eah.r he'll look
at the warrant so he'd be alright, you know, so, ah, you figure
about four people?” HICKS replied, “[t]hat would be best you know
(UI)...,” adding that there would be “at least four.” HICKS went
on to state, “[Y]ou know,‘cause I need one with ah, you know take
the outside (of the premises) in case, you know so they all will
talk on the radio, so the guy never knows how many people
actually's there . . . but still need enough people to go in (the
premises}.” The CW agreed, “right `cause you figure if you gonna
search somebody's house you gonna go in there with more than two
or three people, you know;" HIcKs said “right.”- The CW then
asked, “[s]o, how soon will you know, how many people you can get,
or you think we're pretty good on the people." HICKS stated, “I
think we're pretty good on them.”

D¢cember 8, 2000 Heeting
7. On December B, 2000, the CW had a meeting with EDDIE C.
HIcKs at the cw's office in Dolton, Illinois. This meeting was
recorded. The following is a summary of portions of the recorded

conversation between the cW and HIcKs:

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(a) The CW said that the “young kid, the one who was
setting this up. . . said he'd run up-to Minnesota take some shit
up there he could pick up some money and bring it back here. So
that probably be the money that, you know, we gotta a get... So he
probably not ah this week. If not next weeki the following week
for sure. . . L” (I believe the cw was referring to the proposed
rip-off which the cw discussed with HICKS and MORAN on December 5,
2000). The Cw asked, “you got everybody lined up?* HICKS said,
“yeah, (UI) finish talked to everybody.”

(b) The CW said that his contact {“the young kid”) said
that “he gonna have maybe two or three kilos of dope that he want
for his cut. He say fuck the money, he, he said he could get, make
this money on that.” (I believe the CW was referring to the fact
the his contact would accept the two or three kilos of dope in
exchange for supplying the CW with the information concerning the
money in the safe house). HICKs replied, “Everybody got there's
own thing.”

(c) The CW asked whether HIcKs could leave a copy of a
search warrant at the safe house so that the rip“off victim would
not think that the CW's contact had stolen the money. HICKS asked
the CW for the name, height, and weight of the guy whose “dope it
is. . . “cause in a warrant you got to describe the perp.”

(d) HIcKs asked how much money would be at the stash

house, The cW replied, “He said he, the guy's known to keep five

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hundred, eight thousand dollars. . . . If it’s anything in that
range we alright, ya know.” HICKS said, “And what I was thinking
about doing is I take the whole thing, I take everything. They

{referring to the other members of rip-off crew) go about their
business. I come to you, we count everything." The cw said, “oh
you, you say just take the money and dope from `em; . . . oh then
you bring it over here?" HICKS replied, “Right. Before you know
everybody would just divide it up.”

(e) HICKS asked, “he's (the Cw's contact) still talking
about a week, week and a half, two weeks?” g The CW replied,

“Right.” The cW further said, “Just make sure he's ready with what

we gotta do.” HICKS said, “(UI) it's just like (UI) I don't like
bringing in no new people in on no shit you know because. . .like
in the moviesl everytime you bring a new mother fucker in. . .It's

all bullshit. He*s either, got a problem or he's a fuck-up." The
CW said, “Yeah, we don't need no fuck-ups though. Just make sure
everybody's, know the, they're, what page they on, shit.” HIcKs
replied, “Well that why I said l wanna, they just give me
everything, I come over here and we get everything straight then I
give him. . . .“
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B. On December 20, 2000, Chief Judge Marvin E. Aspen entered

orders (hereinafter “the Court's interception orders of December

20, 2000") authorizing the interception of oral communications and

 

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visual, nan-verbal activities cf coors c. siers, narrst I... MoaAN,

 

and others occurring in and immediately outside an apartment on the
second floor of a building located on West seth street in chicago,
Illinois (the “West ssth street apartment”).

9. on December 20, 2000, the CW had a consensually-recorded

 

meeting with EDDIE c. HIcKs. curing the conversation, the cW
furnished HICKs with the name and address of al putative drug
dealer. specifically, the cw supplied the name of “[Individual B]"
and the address of the West EBth street apartment. The CW told
HICKs that Individual B would have a quantity of United states
narcotics and United states currency in the apartment.

10. The following information is based in part on
interceptions conducted pursuant to the Court's interception orders
of December 20, 2000: `

(a) shortly before s:00 p.m on necember 21, 2000, MATTHEW L.
MORAN and LAWRENCE W. KNITTER drove up to a building in which the
West ssth street is located in a Ford Crown Victoria which.appeared
to be an unmarked police car. LAWRENCE W. KNITTER is a Motor
Maintenance Mechanic employed.by cPD. The Ford Crown Victoria bore
the Illinois license plate number, M74sss. According to Illinois
secretary of state records, Illinois license plate number M?esss,
is registered to a 1990 Chevrolet which was owned by CPD.
According to CPD records, the 1990 chevrolet with license tag

M?esss was taken out of service in 1995.

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(b) shcrciy cfccr amc p.m., an unidentified vcicc which
appeared to be emanating from the area in front of the West EBth
street apartment said, "policer police, we're looking for
finaiviacci sJ}" A chcrt time latcr, there was 1cca kcccking cna
then a loud cracking noise. A hidden camera in the apartment then
recorded MOR.A.N and KNIT'I‘ER enter the apartment. Although he‘ is
not a CPD officer, I<NIT'I'ER was wearing what appeared to be a
Chicago Police Department bullet-proof vest and Police equipment
belt and he was carrying a radio from which was emanating
transmissions which appeared to be coming from.a police dispatcher.

(c} After entering the apartment, MORAN` and KNITTER
proceeded to search the apartment. I~CNITTER discovered
approximately 52,000 in United states currency which the FBI had
placed in a tin can in the dining room of_the apartment. KNITTER
placed this cash into his jacket pocket. MORAN discovered 0
approximately $1,000 in United states currency which the FBI had
placed in a couch in the living room the apartment.` MORAN placed
this cash into his jacket pocket. After completing the search of
the target premises, MOR.AN and I<'NITTER departed the apartment at
approximately 5:23 p.m. on December 21, 2000. Neither MDRAN nor
KNITTER are police officers and no search warrant was left behind-
at the premises.

11. Later in the evening on December 21, 2000_. the CW had a

consensually-recorded meeting with EDDIE C. I-IlCKs at the Cw's

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office. During the conversation, HICKs stated that the West SBth
street apartment had been searched and that $l,500 in United states
currency had been taken;3 `The CW said that the narcotics had been
moved from the purported stash house before the members of HICKS'sl
crew had arrived. HIcKs indicated that he and the other members of
his crew would be interested in.participating in additional rip-offs
with the assistance of the CW. l

12. On January 26,~ 2001, the CW had a consensually-recorded
conversation with EDDIE C. HICKs. During the conversation, the
CW furnished HICKs with the name and address of another putative
drug dealer who was a good rip-off target. specifically, the cw
supplied the name of "[Individual c]" and the address of an
apartment located on West 67th street in Chicago, Illinois (“the
West s?m street apartment”). The CW told HICKs that the CW had a
contact who worked for Individual C, and that the CW's contact would
notify the CW as to when Individual C would have narcotics and
United States currency in the apartment.

J a 31 2001 Inta c tion Dr s

13. on January 31, 2001, chief Judge Marvin E. Aspen entered
orders (hereinafter “the court's interception orders of January 31,
2001") authorizing the interception of oral communications and

visudl, non-verbal activities of EDDIE C. HIC'KS, MATTHEW L. MOR.AN,

 

3 In fact, MORAN and KNITTER took a total of $3000 in United
states currency from the purported stash house.

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LAWRENCE W. KNITTER, and others occurring in and immediately

 

outside the West 67th street apartment.
14. On January 31, 2001, at approximately 5:55 p.m., the

cw had a consensually-recorded telephone conversation with EDDIE c.

 

HICKs. During the conversationr the CW told HICKs that the cW had
learned from his contact (referred to in paragraph 12 above) that
Individual C currently had about “five keys of dope” and a large
quantity of United states' currency in the West 57“‘ street
apartment, that the “dope” was located in the cabinet under the
sink, that there was cash in the refrigerator and in the cabinet
under the sink, and that Individual C and the cW’s contact would be
out of the apartment for awhile.

15. The following information is based in part on
interceptions conducted.pursuant to the Court's interception orders
of January 31, 2001:

(a} At approximately ?:40 p.m on January_slr 2001, MATTHEW
L. MoRAN, LAWRENCE w. KNITTER, and an unidentified white male
entered the West 57th street apartment. KNITTER was again wearing
what appeared to be a Chicago Police Department bullet-proof vest
and police equipment belt and he was carrying what appeared to be
a police radio. MORAN displayed a firearm during part of the time
in which he was in the apartment.

(b) lAfter entering the apartment at approximately 7:40 p.m.,

MORAN, KNITTER, and the unidentified white male proceeded to search

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the apartment. They remained in the apartment until approximately
0:22 p.m. During this period, MORAN, KNITTER, and the unidentified
white male located and took possession of one bundle of cash in the
refrigerator and one bundle of cash in the cabinet under the sink.
The FBI had previously placed two bundles of cash totaling $10,000

in the apartment.

(c) At approximately 8200 p.m, KNITTER used a cellular
telephone to a sake a phone call. (Based on subsequent events
summarized below, I believe that KNITTER was talking to EDDlE C.
HICKS). KNITTER said in part “We haven’t got it yet. We got two
handfuls. stay out there just a few more minutes. We're stilll
looking.”

(d) A few minutes after this call, at approximately B:OB
p.m., HICKs had a consensuallyvrecorded telephone conversation.with
the cW. During this conversation, HIcKs said to the CW, “They got
two bundles of money, none of that five stuff (I believe HICKs was
referring to the “five keys of dope" referred to in paragraph 14
above) and none of that other things.F {I believe HICKs was
referring to bundles of additional money).

(e) At approximately B:ll p.m., HICKs hadn another
consensually-recorded telephone conversation with the CW. During
this conversations HICKs` asked the CW, “Is it supposed. to be
there?” The CW replied, “Yeah; look in the frig.” HICKS

responded, “They found one there and one under the sink.” The cW

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said to HICKS, “Ask if they found any dope.“ HICKs replied, “No,
but they're still in there.” -

{f) At approximately s:ls p.m., HICKs had another
consensuallycrecorded telephone conversation with the CW. During
this conversation, the C'W advised HIC.‘Ks that the CW had just
learned from the CW's contact that the purported drug dealer,
Individual B, had taken “it” (I believe that the CW was referring
to the “five keys of dope” and the additional cash) to Minnesota,
and that the Cw's contact had not been unable to so notify the CW
earlier because the contact had been with Individual B. HICKs
told the CW, “We'll shoot out there tonight (I believe that HICKS
was referring to the CW's office) and get it over with. It won’t
be much because they only found only two bundles.”

16. Later in the evening on January 31, 2001, the cw had a
consensually-recorded and video“taped meeting with HICKs and MORAN
at the CW’s office:

(a) During the meeting, HIcKs stated that the West s7th
street apartment had been searched and that $5,000 in United states
currency had been taken.‘ HICKs provided $995 in United states
currency to the CW in payment for the CW's assistance with the rip-

off. During the meeting, MoRAN stated he was looking for

 

‘ In fact, MORAN, KNITTER, and the unidentified white male took
_ a total of $10,000 in United states currency from the purported
stash house.

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narcotics and cash in the apartment, but that he only found cash.
MORAN said the next rip-off be set up as a traffic stop of a drug
dealer, rather than as an apartment search.

l?. leased on the foregoing information, there is probable
cause to believe that EDDIE c. HICKs, MATTHEW L. MORAN, and
LAWRENCE W. KNITTER knowingly and intentionally conspired with each
other and with others known and unknown to possess with intent to
distribute a controlled "substance, namely, in excess of five
kilograms of cocaine, a schedule II controlled substance, in _

violation of Title 21, United states code, section 846.

DANIEL LEE
FBI special Agent

subscribed and sworn to before me
this [¢f' day of February, 2001.

MORTGN DENLOW
United states Magistrate Judge

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